455 F.2d 519
    Fed. Sec. L. Rep.  P 93,317Djalma S. WOLFSON, Plaintiff-Appellant,v.LITTON INDUSTRIES, INC., et al., Defendants-Appellees.
    No. 245, Docket 71-1576.
    United States Court of Appeals,Second Circuit.
    Argued Dec. 6, 1971.Decided Dec. 28, 1971.
    
      Richard J. Stull, New York City (Stull &amp; Stull and Robert A. Stull, New York City, on the brief), for plaintiff-appellant.
      Harvey D. Myerson, New York City (Webster, Sheffield, Fleischmann, Hitchcock &amp; Brookfield, John E. Gould, and Richard L. Sherman, New York City, on the brief), for defendants-appellees.
      Before ANDERSON, OAKES and TIMBERS, Circuit Judges.
      PER CURIAM:
    
    
      1
      We affirm on Judge Palmieri's opinion below, 336 F.Supp. 1039, granting summary judgment to the defendants, and add only a brief comment.
    
    
      2
      In this appeal Wolfson has relied heavily on the point that Judge Palmieri failed to deal specifically with an alleged fraud in the inducement of a January 10, 1969 contract between the parties.  But Wolfson had made only incidental and somewhat vague references to this allegation in his lengthy complaint and did not present the issue in the trial court as one having any substance.  We are satisfied that Judge Palmieri considered and correctly resolved the claim and properly concluded that there was no genuine issue as to any material fact.
    
    